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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

  LAN LI, et al.,                                      )
                                                       )
  Plaintiffs,                                          )
                                                       )
  v.                                                   )   Civil Action No. 16-81871-Civ-Marra
                                                       )   LEAD CASE
  JOSEPH WALSH, et al.,                                )
                                                       )
  Defendants.                                          )
                                                       )

                STIPULATION OF INTENT TO DISMISS WITH PREJUDICE

         Counsel for the 41 plaintiffs1 and counsel for Leslie Evans and Leslie Robert Evans &

  Associates P.A. (the “Parties”) hereby submit this Stipulation of Intent to Dismiss with Prejudice.

  On July 14, 2022, Magistrate Matthewman held a continuation of the settlement conference

  between the Parties, in which the Parties confirmed that settlement had been reached and signatures

  were being gathered. The Court further ordered that a stipulation of dismissal with prejudice will

  be filed by July 29, 2022. (DE 861.)

         The settlement agreement between the Parties states that the Parties will file a stipulation

  of dismissal with prejudice once the settlement amount had been made. The payment is in process

  but may take another few days to finalize.




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   LAN LI, WANG SHUANGYUN, ZHANG WENHAO, SHI SHA, LOU HAO, XIANG
  CHUNHUA, KUANG YAOPING, ZHU BEI, DENG QIONG, ZHU QIONGFANG, GAN
  ZHILING, LI CUILIAN, TANG YULONG, ZHANG LILI, RAN CHEN, JUNQIANG FENG,
  XIANG SHU, YING TAN, XIONG TAO, WANG YUANBO, JIANG SHU, FEI YING, LI
  CHAOHUI, WEI RUJING, ZHOU JUEWEI, CHEN YAN, GU CHENGYU, PAN HONGRU,
  ZHU DONGSHENG, LI MIN, YE CHUNNING, KANG YAJUN, TANG CHEOK FAI, LI
  DONGSHENG, WANG XIAONAN, REZA SIAMAK NIA, MOHAMMADREZA
  SEDAGHAT, MOHAMMAD ZARGAR, ALI ADAMPEYRA, SHAHRIAR EBRAHIMIAN,
  and HALIL ERSEVEN.

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          Accordingly, to comply with the terms of the settlement agreement and the spirit of the

  Court’s July 14 order, the Parties hereby submit this Stipulation of Intent to Dismiss with

  Prejudice. Promptly upon completion of the initial settlement payment from the Evans Defendants

  to the 41 Plaintiffs, the Parties will file a stipulation of dismissal with prejudice, and expect to do

  so in the near future.

  Dated: July 29, 2022
                                         By: /s/ Katherine Burghardt Kramer
                                                        DGW KRAMER LLP
                                                        Katherine Burghardt Kramer, Esq.
                                                        RongPing Wu, Esq.
                                                        One Rockefeller Plaza; Ste. 1060
                                                        New York, NY 10020
                                                        Tel. No.: (917)633-6860
                                                        Email:
                                                        Attorneys for 41 Plaintiffs


                                                 By: /s/ Gregory R. Elder
                                                         Gregory R. Elder, Esq.
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                                                         Attorney for Leslie Robert Evans and Leslie
                                                         Robert Evans & Associates, P.A.


                                 CERTIFICATE OF SERVICE

         THE UNDERSIGNED HEREBY CERTIFIES that a true and correct copy of the
  foregoing document was electronically filed with the Clerk of Court using the CM/ECF
  system, on this 29th day of July , 2022, and that the foregoing document is being served this
  day on all counsel of record, via transmission of Notices of Electronic Filing generated by
  CM/ECF.


                                                         By: /s/ Gregory R. Elder




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